OPINION — AG — ** BOARD OF COUNTY COMMISSIONERS — RETIREMENT SYSTEM ** (1) THE PROVISIONS OF 19 O.S. 951 [19-951] ET SEQ., DO `NOT' EMPOWER COUNTY COMMISSIONERS TO ESTABLISH MORE THAN ONE RETIREMENT FUND AND SYSTEM FOR ANY GIVEN COUNTY EMPLOYEE. (2) ANY ACTION TAKEN BY COUNTY COMMISSIONERS TO ESTABLISH MORE THAN ONE RETIREMENT SYSTEM AND FUND FOR A GIVEN COUNTY EMPLOYEE IS AN ACTION TAKEN IN EXCESS OF THE COMMISSIONER'S STATUTORY POWERS, AND, THEREFORE, IS A VOID ACTION HAVING NO FORCE AND EFFECT OF LAW. (COUNTIES AND COUNTY OFFICERS, DEFINITIONS, PENSION PLAN, RETIREMENT, ACTS, UNAUTHORIZED, ILLEGAL, NULL, PLURAL MEANING) CITE: 19 O.S. 951 [19-951], 19 O.S. 954 [19-954], 25 O.S. 25 [25-25], OPINION NO. 80-289 (NEAL LEADER)